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                                                              AMAZON.COM, INC.
                                                           14
                                                           15                       UNITED STATES DISTRICT COURT
                                                           16                      CENTRAL DISTRICT OF CALIFORNIA
                                                           17                     (WESTERN DIVISION – LOS ANGELES)
                                                           18 GRANT MCKEE, individually and on               Case No.: 2:17-cv-01941 GW (Ex)
                                                              behalf of all others similarly situated,
                                                           19                                                DECLARATION OF JASON A.
                                                                               Plaintiff,                    MASSELLO IN SUPPORT OF
                                                           20                                                DEFENDANTS’ MOTION TO
                                                                    v.                                       COMPEL ARBITRATION AND
                                                           21                                                DISMISS CLAIMS
                                                              AUDIBLE, INC. and AMAZON.COM,
                                                           22 INC.,                                          Date:      May 4, 2017
                                                                                                             Time:      8:30 AM
                                                           23                  Defendants.                   Crtm:      9D
                                                                                                             Judge:     George H. Wu
                                                           24                                                Trial Date:NONE SET
                                                           25
                                                           26
                                                           27
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                      1      Case No. 2:17-cv-1941 GW(Ex)
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                                                            1         I, Jason A. Massello, declare as follows:
                                                            2         1.    I am a Corporate Counsel supporting Audible, Inc. (“Audible”), a
                                                            3 wholly owned subsidiary of Amazon.com, Inc. (“Amazon”). My current
                                                            4 responsibilities include supporting all aspects of Audible’s service offerings and
                                                            5 business operations, as well as working with the Amazon Litigation and Regulatory
                                                            6 Department in identifying, reviewing and producing documents in litigation on
                                                            7 behalf of Audible and Amazon. Based on my job responsibilities and my review of
                                                            8 Audible’s and Amazon’s business records, I am familiar with the agreements,
                                                            9 customer sign-up and order process, and customer history that I discuss in this
                                                           10 declaration. I make this declaration based on personal knowledge and records that
                                                           11 Audible and Amazon keep in the ordinary course of business, including information
                                                           12 obtained from other Audible and Amazon personnel in the course of their duties. I
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                                                           13 am competent to testify to the matters stated here.
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                                                           14                               Amazon and Its Services
                                                           15         2.    Amazon is America’s largest online, e-commerce marketplace. Its
                                                           16 website, www.amazon.com, offers customers the ability to purchase countless
                                                           17 different products or services, whether through Amazon itself or through third-party
                                                           18 vendors. One of Amazon’s popular offerings is Amazon Prime, a subscription
                                                           19 service that provides customers with free two-day or same-day shipping on eligible
                                                           20 items; unlimited online photo storage; streaming of movies and TV shows with
                                                           21 Prime Video; music streaming; and the ability to borrow e-books through the
                                                           22 Kindle Owners’ Lending Library, among many other benefits. Customers can
                                                           23 subscribe to Amazon Prime for a monthly or annual membership fee.
                                                           24         3.    Audible, Inc. (“Audible”) is a digital audiobook and spoken audio
                                                           25 information and entertainment service that Amazon acquired in 2008. Audible
                                                           26 offers more than 250,000 audiobooks that users can listen to through the Audible
                                                           27 app on a variety of mobile devices. Audible includes a subscription-based service:
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                      2          Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 a subscriber pays a monthly or annual fixed fee, which depends on the membership
                                                            2 plan the customer chooses, and in exchange the customer receives a number of
                                                            3 benefits. Audible membership benefits include a 30% discount on all Audible
                                                            4 content purchases; unlimited listening to Audible Channels, an on-demand audio
                                                            5 entertainment service that offers original audio series and curated audio playlists;
                                                            6 and the Great Listen Guarantee, which allows subscribers who are not fully
                                                            7 satisfied with an Audible audiobook purchase to return or exchange it within 365
                                                            8 days of the original date of purchase.
                                                            9         4.    As a benefit of Audible membership plans, subscribers also receive a
                                                           10 given number of Audible “credits” each month (or year). Subscribers can use
                                                           11 membership credits to purchase audiobooks. Generally, one membership credit
                                                           12 may be redeemed for one audiobook, regardless of the price of the book. For
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                                                           13 example, while the non-member price for the audiobook version of Ron Chernow’s
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                                                           14 Alexander Hamilton is approximately $42.00, a member can download it for one
                                                           15 membership credit. Audible also offers its members the flexibility to “roll over”
                                                           16 those membership credits into a subsequent membership period, up to a maximum
                                                           17 number that varies by membership plan. Exhibit 1 is a webpage from Audible’s
                                                           18 online help center that explains the differences between Audible’s available
                                                           19 membership plans, including the different rollover credits available with each plan.
                                                           20         5.    As with other audiobook purchases through Audible, once a subscriber
                                                           21 redeems a credit for an audiobook, the audiobook is for the subscriber to keep—
                                                           22 even if the customer subsequently cancels his or her subscription. However,
                                                           23 membership credits, like other Audible membership benefits, expire when a user
                                                           24 cancels his or her membership.
                                                           25         6.     The Audible Service Terms of Use explain how membership credits
                                                           26 work, including the fact that they expire immediately upon termination of
                                                           27 membership:
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                      3        Case No. 2:17-cv-1941 GW(Ex)
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                                                            1                Credits
                                                            2                As part of a membership plan or a Service promotion, we
                                                                             may issue you credits redeemable for content on the
                                                            3                Service (“Credits”). Credits may only be redeemed on the
                                                            4                Service, have no cash value, are non-transferrable and
                                                                             non-refundable. All Credits are valid for a limited time as
                                                            5                described in the membership terms and conditions and
                                                                             expire immediately upon the termination of your
                                                            6                membership. Credits issued as part of a Service
                                                            7                promotion expire in accordance with the applicable
                                                                             promotional terms.
                                                            8
                                                            9 Exhibit 2 is the current version of the Audible Service Terms of Use, last updated
                                                           10 June 7, 2016. These terms were in effect when Mr. McKee signed up for his
                                                           11 Audible membership, and they remain in effect today.
                                                           12      7.    In addition to explaining how credits work in the Audible Service
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                                                           13 Terms of Use, Audible provides information on its Help Center, under the title
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                                                           14 “What happens to my credits if I cancel my membership?” There, Audible
                                                           15 explains:
                                                           16                Because credits are considered a membership benefit,
                                                                             they are lost when an Audible customer chooses to
                                                           17                discontinue their membership. It’s highly recommended
                                                                             that you use any remaining credits prior to making
                                                           18                changes to your plan. Once you have used your credits to
                                                           19                purchase any title(s) of your choice, you can cancel your
                                                                             membership and all of your titles will remain in your
                                                           20                library.
                                                           21
                                                                Exhibit 3 is the webpage from Audible’s online help center, titled “What happens
                                                           22
                                                                to my credits if I cancel my membership?”
                                                           23
                                                                            Amazon’s Conditions of Use and Arbitration Agreement
                                                           24
                                                                      8.     Amazon’s Conditions of Use (“COUs”) have contained an arbitration
                                                           25
                                                                agreement and class action waiver since August 19, 2011. When Amazon updated
                                                           26
                                                                its COUs in 2011, it sent a notice to all Amazon account holders, including
                                                           27
                                                                Plaintiff, to inform them of the change in terms and the addition of the arbitration
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                       4        Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 provision. Exhibit 4 is a copy of Amazon’s current COUs, last updated June 21,
                                                            2 2016. Exhibit 5 is a copy of the COUs in effect from December 5, 2012 until
                                                            3 June 20, 2016. Exhibit 6 is a copy of the COUs in effect from August 19, 2011
                                                            4 until December 4, 2012. The arbitration agreement appearing in all these COUs
                                                            5 contains virtually identical language. The relevant provision of the most current
                                                            6 COUs appears below:
                                                            7               Any dispute or claim relating in any way to your use
                                                            8               of any Amazon Service, or to any products or services
                                                                            sold or distributed by Amazon or through
                                                            9               Amazon.com will be resolved by binding arbitration,
                                                                            rather than in court, except that you may assert claims
                                                           10               in small claims court if your claims qualify. The Federal
                                                                            Arbitration Act and federal arbitration law apply to this
                                                           11               agreement.
                                                           12
                                                                            There is no judge or jury in arbitration, and court
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                                                           13               review of an arbitration award is limited. However,
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                                                                            an arbitrator can award on an individual basis the
                                                           14               same damages and relief as a court (including
                                                                            injunctive and declaratory relief or statutory
                                                           15               damages), and must follow the terms of these
                                                           16               Conditions of Use as a court would.
                                                           17               To begin an arbitration proceeding, you must send a
                                                                            letter requesting arbitration and describing your claim to
                                                           18               our registered agent Corporation Service Company, 300
                                                                            Deschutes Way SW, Suite 304, Tumwater, WA 98501.
                                                           19               The arbitration will be conducted by the American
                                                           20               Arbitration Association (AAA) under its rules, including
                                                                            the AAA's Supplementary Procedures for Consumer-
                                                           21               Related Disputes. The AAA’s rules are available at
                                                                            www.adr.org or by calling 1-800-778-7879. Payment of
                                                           22               all filing, administration and arbitrator fees will be
                                                           23               governed by the AAA’s rules. We will reimburse those
                                                                            fees for claims totaling less than $10,000 unless the
                                                           24               arbitrator determines the claims are frivolous. Likewise,
                                                                            Amazon will not seek attorneys’ fees and costs in
                                                           25               arbitration unless the arbitrator determines the claims are
                                                                            frivolous. You may choose to have the arbitration
                                                           26               conducted by telephone, based on written submissions, or
                                                           27               in person in the county where you live or at another
                                                                            mutually agreed location.
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                      5        Case No. 2:17-cv-1941 GW(Ex)
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                                                            1                We each agree that any dispute resolution
                                                                             proceedings will be conducted only on an individual
                                                            2                basis and not in a class, consolidated or representative
                                                            3                action. If for any reason a claim proceeds in court rather
                                                                             than in arbitration we each waive any right to a jury
                                                            4                trial. We also both agree that you or we may bring suit in
                                                                             court to enjoin infringement or other misuse of
                                                            5                intellectual property rights.
                                                            6
                                                                Exhibit 4 at 4 (bold in original).
                                                            7
                                                                      9.     Since August 19, 2011, Amazon’s COUs have also contained a
                                                            8
                                                                consistent choice of law provision:
                                                            9
                                                           10                By using any Amazon Service, you agree that the Federal
                                                                             Arbitration Act, applicable federal law, and the laws of
                                                           11                the state of Washington, without regard to principles of
                                                                             conflict of laws, will govern these Conditions of Use and
                                                           12                any dispute of any sort that might arise between you and
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                                                                             Amazon.
                                                           13
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                                                           14 Exhibit 4 at 4.
                                                           15         10.    Amazon customers must accept the Amazon COUs when they perform
                                                           16 a number of different actions on the Amazon website. For instance, before a user
                                                           17 even creates an Amazon account, the user must agree to Amazon’s COUs.
                                                           18 Exhibit 7 is the Amazon’s “Create account” webpage. To create an account, a user
                                                           19 must press a “Create your Amazon account” button. Immediately under that button
                                                           20 is the language: “By creating an account, you agree to Amazon’s Conditions of Use
                                                           21 and Privacy Notice.” This language includes hyperlinks to the complete terms of
                                                           22 Amazon’s COUs and its privacy policy, respectively. A customer cannot create an
                                                           23 account without first affirmatively clicking on this button. If a customer does not
                                                           24 wish to accept the COUs, or the arbitration agreement contained there, then the
                                                           25 customer may cancel the transaction.
                                                           26         11.    Similarly, every time customers make purchases in Amazon using the
                                                           27 standard checkout page, they have the opportunity to review and confirm their
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                      6        Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 orders and, to complete their orders, they must accept the Amazon COUs. Exhibit
                                                            2 8 is an example of a standard Amazon checkout page. It demonstrates that, to make
                                                            3 a purchase, Amazon customers must click on a “Place your order” button.
                                                            4 Immediately underneath this button is the following language, with a link to the
                                                            5 COUs: “By placing your order, you agree to Amazon’s privacy notice and
                                                            6 conditions of use.” The words “conditions of use” are a blue highlighted hyperlink
                                                            7 to the COUs. A customer cannot checkout from this page without first clicking on
                                                            8 this “Place your order” button.
                                                            9         12.   Customers must also agree to the Amazon COUs before they sign up
                                                           10 for a membership to Amazon Prime. Exhibit 9 is an example of the page from
                                                           11 which a user can start a free trial membership to Amazon Prime. Below the “Start
                                                           12 your 30-day free trial” button is the following language: “By signing up, you agree
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                                                           13 to the Amazon Prime Terms. . . . ” This language contains a link to the Amazon
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                                                           14 Prime Terms. Exhibit 10 is a copy of the current Amazon Prime Terms, last
                                                           15 updated December 13, 2016. I also attach as Exhibit 11 to the declaration the
                                                           16 historical Amazon’s Prime Terms from December 29, 2011, which were effective
                                                           17 when Mr. McKee first became an Amazon Prime subscriber. Both the current and
                                                           18 historical Prime Terms include a link to the Amazon COUs, as have all Amazon
                                                           19 Prime Terms during the relevant time period. Furthermore, during all relevant
                                                           20 times, the Amazon Prime Terms have required users signing up for a Prime
                                                           21 membership to agree to the Amazon COUs.
                                                           22         13.   Amazon also requires customers to agree to the Audible Service Terms
                                                           23 of Use and Amazon’s COUs when they sign up for an Audible subscription.
                                                           24 Exhibit 12 is an example of the page from which an existing Amazon member (like
                                                           25 Mr. McKee) can start a free trial membership to Audible. Below the “Start Your
                                                           26 Free Trial Now” button is the following language: “By completing your purchase
                                                           27 you agree to Audible’s Conditions of Use and Privacy Notice and authorize
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                     7       Case No. 2:17-cv-1941 GW(Ex)
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                                                            1 Audible to charge you designated card or any other card on file.” This language
                                                            2 includes a link to the Audible Service Terms of Use, which I identify above as
                                                            3 Exhibit 2 to this declaration. The Audible Service Terms of Use incorporate the
                                                            4 Amazon COUs by reference, and they explicitly describe and cross-reference the
                                                            5 arbitration agreement in the Amazon COUs:
                                                            6               “Any dispute or claim arising from or relating to
                                                            7               these Terms or your use of the Service is subject to
                                                                            the binding arbitration, governing law, disclaimer of
                                                            8               warranties, limitation of liability and all other terms
                                                                            in the Amazon.com Conditions of Use.”
                                                            9
                                                           10 Exhibit 2 at 2 (bold in original).
                                                           11      Grant McKee’s Use of Audible and Agreement to the Conditions of Use
                                                           12         14.   According to records Amazon maintains in the ordinary course of
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                                                           13 business, Grant McKee has been an Amazon customer since August 19, 2008, and
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                                                           14 he joined Amazon Prime in February 2012. He signed up for a free trial
                                                           15 membership to Amazon Prime on February 10, 2012, which then converted to an
                                                           16 annual paid membership on March 10, 2012. Mr. McKee remains an active
                                                           17 Amazon Prime subscriber and Amazon customer.
                                                           18         15.   On June 26, 2016, Mr. McKee signed up for a free trial membership
                                                           19 with Audible (using his existing Amazon account), enrolling in the Gold Monthly
                                                           20 Membership plan. To sign up, he was required to click on the “Start Your Free
                                                           21 Trial Now” button as shown in Exhibit 12. From June 26, 2016 until he cancelled
                                                           22 his Audible subscription, he accrued a total of six membership credits, including
                                                           23 one credit he received during the free trial. While Mr. McKee was an Audible
                                                           24 subscriber, he redeemed four of these credits.
                                                           25         16.   At no point during his Audible membership or since did Mr. McKee
                                                           26 contact Audible or Amazon customer support to express any dissatisfaction with his
                                                           27 Audible service. Nor did Mr. McKee use Audible’s Great Listen Guarantee, one of
                                                           28
                                                                 MASSELLO DECL. ISO
                                                                 DEFENDANTS’ MTN TO
                                                                 COMPEL ARBITRATION                     8        Case No. 2:17-cv-1941 GW(Ex)
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